 

Case 1 NP)
_. MEM™ TN

4-CS_ Document 83 Filed 10/07/22 Page 1 of 11
ORSED

* my

KATHY HOCHUL ANTHONY J. ANNUCC

Acting Commissione CHAMBERS OF
G THY SEIBEL
CAS Dal.

 

 

 

 

To: Brown, M 16A1000/11-A2-45B a\ CN ald (cS)

From: M. Schultz, IGPS

! eyer~Q
Tt Neyer-Sent ws © i

eae
The attached is being returned to you because it has nothing to do with grievance. C
G

g, Noel iS "eer Over Z | af Nevo ee
iat a coer ynssek CL a y a
SoOn Oc WHOA \ G0at 40 Yer ‘ie ee
Wires \ PRI ye KW Won Woy Send HA

Ewoesee vf \ SO Caled Sent thio
AY, EOMOT \ \nane raver addiessd Yor
Onc, \nofere, est | Neds WO Awd Hire.
Corke Wi Seared ypu’ Nener Peres ew)
Cony QO, Geb Gina stir Nd WS A edorey

CHIN gma, TE Kadyeg Parr |

Date: 9/28/22

Subject: not grievance

 

 

 

 
  
 
  

gerne Filed 10/07/22 Page 2 of 11 1

“pak

 

a  cggee no. 8-01-24)
and MARK DELI reine

 

 

 

Ke Nae he. - Rollawing AS Digposrthon oF .
MAE L Ls BROS . Baur) Sated Jme 22,4022, Tm 2
We. am to a Token by Andres Blarcorg, AAG

& Areey Genorcu) OF NEW yaR Stet

2 aberly § reer, 18% Floor New YOrK , 000% For
Sefer) vf Banh DEACON acct DELBIANCO.

ASX heal oy Annere LAINSS, REPORTER Gs U2)

wank ar awe OFFA ra franserph Ise

L raise @ the, Go| Howsin @:
te “ “OFS IN whIdh the 4ransy
eee SO Conran Loh trUH, 4g atte,

 
 

 

 
 

 

 

Case 7:21-cv-00214-CS Document 83 Filed 10/07/22 Page 3 of 11

Page 1
Brown v Urbanski, et al — 6/22/2022 - Malik L. Brown

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF NEW YORK

MALIK L. BROWN,
Plaintiff,
vo _ Index No.: 7:21-CV-214 (CS)
STEPHEN URBANSKI, JOSEPH DEACON
ena MARK DELBIANCO,
Defendants.

x

 

DEPOSITION OF: MALIK L. BROWN

DATE: June 22, 2022
TIME: 10:07 a.m. to 11:55 a.m.
VENUE: WebEx

y ORIGINAL

ASSOCIATED REPORTERS INT’L., INC.
ARII@courtsteno.com
(800) 523-7887 www.courtsteno.com
Transcription - National and International reporting coverage

 
 

 

Case 7:21-cv-00214-CS Document 83 Filed 10/07/22 Page 4 of 11

800.523.7887 - . : ae Associated Reporters Int'l., Inc.
mes Page 105
ae /- Brown v Urbanski, et al - 6/22/2022 - Malik L. Brown
2 on "ANNETTE LAINSON, do hereby certify that the

3 foregeing testimony of MALIK L. BROWN was taken by me, in
4 the Causé, at the time and place, and in the presence of

5 counsel, as stated in the caption hereto, at Page 1

6 hereof; that before giving testimony said witness was duly
To. Sworn, to testify the truth, the whole truth and nothing

8 but the truth; that the foregoing typewritten

9 transcription, consisting of pages number 1 to 103,

10 inclusive, is a true record prepared by me and completed

11 by Associated Reporters Int'l., Inc. from materials

12 Aanufde by me.

14 ANNETTE Aanetde « Reporter OE
15
16
17
18)...
19
20
21
22
23
24

25

ARII@courtsteno.com www.courtsteno.com

 

 
Case 7:21-cv-00214-CS Document 83 Filed 10/07/22°Page50f11

SAATE OF New yoRk,
COUNTY OF SENECA

< . an | BROWN, have read the -

fore: ong cee oF my Testimony tke ot the ure.

an lace 9 meted Grd dd hereby acknewledlae ¢ °

() ‘hed WiSa ttwe and Canmect rar acnip} of

 

Same | -
wb wh We CK’ cops Noted Ww; the alached
Crrata Sheet, 1S O rue. end Correct FONSCM PT oF

wees kX here?

MALIK L.. BROWN

 

 

Saat eh tre this -

 

 

 

te Notary Publi CHASE ew York
Ke
Moy CONN gyor) Exp * ete ECHSBBIEGA
. My Commission Expires October 15, 2022
CX tober t Z

 

 
 
 

800.523.7887

Associated Reporters Int'l., Inc.
as Doon Page 106
1 | Brow Usbancsid, et al - 6/22/2022 ~ Malik L. Brown
2. "ASSOCIATED REPORTERS INTERNATIONAL, INC.
(800) 523-7887
3 oo
Date: oe
4 Case Name: : Brown v Urbanski, et al
Index Number: %7:21-CV-214(CS)
5  Deponent: Malik L. Brown
Deposition Date: 6/22/2022
6 Examining Attorney: Andrew Blancato, A.A.G.
7: Dear, Mr. Brown: _
8
Please read and make any changes and/or corrections in
your testimony and sign the transcript in the presence of
9
a notary public. Please do so within thirty (30) days.
10 If you fail to sign the transcript within thirty (30)
days, it will be delivered to the appropriate parties
11 without signature. Return the transcript with
corrections, if any, to:
12
OFFICE OF THE NEW YORK STATE ATTORNEY GENERAL
13 BY: ANDREW BLANCATO, A.A.G.
28 Liberty Street, 18th Floor
14 New York, New York 10005
15

 

Case 7:21-cv 00214-CS. Document 83 ‘Filed. 10/07/22 Page 6 of 11

 

CORRECTIONS:

Word or phrase:
Corrected to:

 

Word or phrase:
Corrected to:
Word or phrase:
Corrected to:
Word or phrase:
Corrected to:
Word or phrase:

 

 

ana s
Ge iEeL fk

    

 

Corrected to:

coergt Or Prare
eq COrPRRKC to

   
  
  
  
   
 
 
   
    
   
 
 
 
   
 
   

Corrected to: Arlt THO ine cont ACRYL | penpbet I
Word or phrase: . ‘sew 1 ats Here MAO

Corrected to: i SHO “TUNG. weiner ¢
Word or phrase: |S ays ae Sagi Biiclzstcr

 

 
     

 

oo2ie-cs Document 83° Filed 10/07/22 “page 7 of: Mo

  

- : a - a . . _ Case a
CoRRecnONs’, oe
“ord ¢ or 3 Phrose bbe Pe ashi Malte

 

 

 

 

 

 

ae ed ae peed OBE ha they to me
Corrected 98 once | twas core in Madieal the +c0F

 

 

   

 

 
   

Great oe

DUA word op Pliage
aa SOs

Lat is

 
 

   

   
 
 
 
 
 
  

“Case 7:21-cv-00214-CS Document 83° Filed 10/07/22 Page 8 of 11

2S Affidavit of Service

State. ‘of hee York oa
County. of ‘Seneca oo)

 

  

> being duly sworn, deposes and says:.

 

 

 

26 Said papers were addressed to the following parties:

 

Original and Duplicate(s)

 

 

 

 

 

 

 

 

Very truly yours,

 

Five Points C.F. .
P.O. Box 119 oe
Romulus, New York 14541 :

Sworn to before ‘me “this

De aay of _ Sept: me

Lith

NOTARY PUBLIC

‘Notary Pubic "State of New York. ed
No. 01CH638 1894 OAD =
Qualified in Seneca County Cee
My Commission Expires October 15, 2022...

 
 

Case 7:21-cv-00214-CS Document 83 Filed 10/07/22 Page 9 of 11

 

chat, BEFOT™ Gyno
One Neo“
ms [ RECEIVED
. 9 2022

FIVE POINTS mar LROOM

 
 

 

Case 7:21-cv-00214-CS Document 83 Filed 10/07/22 Page 10 of 11

FIVE POINTS CORRECTIONAL FACILITY
STATE ROUTE 96, P.O. BOX 119
ROMULUS, NEW YORK 14541

 

eh §

D

 

s| & joaf =.

= ox oP
“Pos
ca {B20

& we [SS
= (8s

pu] 6

 

 

 

—_
‘

¥

ORGENT LEGAL
AMET VER.

 

 

N

 

 

NAME: hwalik Row) ow: dy

SSeS eS

) Loc: {|= A; ~YUZB

CHAMPERS OP DISTRICT Joc

ED STATES DISIRG COOK
SOUTER STRICE OF NAN YORIG
BCO MUARROPAS SMELK
WIE PAIRS WY WOOO] FEDGCRAL

oc le eeu Unite

 
 

 
  

   

: NEWYc YORK STATE.

OE RIMENT OF CORRECTIONS A

 DEPA ND COMMUNITY: SUP

ING: me INDIVIDUAL CORRESPONDENCE Ean

Oy’)

 

       

DIN: | AIL i

 
